81 F.3d 172
    NOTICE:  Although citation of unpublished opinions remains unfavored, unpublished opinions may now be cited if the opinion has persuasive value on a material issue, and a copy is attached to the citing document or, if cited in oral argument, copies are furnished to the Court and all parties.  See General Order of November 29, 1993, suspending 10th Cir. Rule 36.3 until December 31, 1995, or further order.
    Kathryn D. GREEN, Plaintiff-Appellant,v.Shirley S. CHATER, Commissioner, Social SecurityAdministration,1 Defendant-Appellee.
    No. 95-7114.
    United States Court of Appeals,Tenth Circuit.
    March 22, 1996.
    
      ORDER AND JUDGMENT2
      Before TACHA, BALDOCK, and BRISCOE, Circuit Judges.3
      BALDOCK, Circuit Judge.
    
    
      1
      Plaintiff-appellant Kathryn D. Green (claimant) appeals from the district court's decision upholding the Secretary's denial of supplemental security income benefits.   Claimant applied for benefits because of her learning disabilities and emotional problems.   Following a hearing, the administrative law judge (ALJ) determined, at step two of the applicable five-step sequential analysis, 20 C.F.R. 416.920;  see also Williams v. Bowen, 844 F.2d 748, 750-51 (10th Cir.1988), that claimant had failed to meet her burden, see Williams, 844 F.2d at 751 n. 2, of establishing that she suffered from a severe impairment that significantly limited her ability to do basic work-related activities, see 20 C.F.R. 416.920(c), 416.921.   The Appeals Council denied review, making the ALJ's determination the final decision of the Secretary.
    
    
      2
      On appeal, claimant argues that the record does not contain substantial evidence to support the Secretary's denial of benefits because the ALJ 1) failed to relate the evidence to his conclusions;  2) mechanically applied the regulatory guidelines addressing nonsevere mental impairments, when the overall record established that her mental impairments significantly impaired her ability to perform work-related activities;  and 3) failed to provide the Secretary's consulting examiners with necessary background information.   Because claimant did not assert her first argument to the district court, we need not address that issue here.  See Crow v. Shalala, 40 F.3d 323, 324 (10th Cir.1994).
    
    
      3
      This court will review the Secretary's decision to insure that the findings of fact are supported by substantial evidence contained in the record and that the Secretary applied the law correctly.  See Kelley v. Chater, 62 F.3d 335, 337 (10th Cir.1995).   Upon consideration of the record and the parties' arguments on appeal, we conclude that the record contains substantial evidence to support the denial of benefits.   Finding no reversible legal error, we AFFIRM the decision of the United States District Court for the Eastern District of Oklahoma.
    
    
      
        1
         Effective March 31, 1995, the functions of the Secretary of Health and Human Services in social security cases were transferred to the Commissioner of Social Security.   P.L. No. 103-296.   Pursuant to Fed.  R.App. P. 43(c), Shirley S. Chater, Commissioner of Social Security, is substituted for Donna E. Shalala, Secretary of Health and Human Services, as the defendant in this action.   Although we have substituted the Commissioner for the Secretary in the caption, in the text we continue to refer to the Secretary because she was the appropriate party at the time of the underlying decision
      
      
        2
         This order and judgment is not binding precedent, except under the doctrines of law of the case, res judicata, and collateral estoppel.   The court generally disfavors the citation of orders and judgments;  nevertheless, an order and judgment may be cited under the terms and conditions of 10th Cir.  R. 36.3
      
      
        3
         After examining the briefs and appellate record, this panel has determined unanimously to grant the parties' request for a decision on the briefs without oral argument.   See Fed.  R.App. P. 34(f) and 10th Cir.  R. 34.1.9.   The case is therefore ordered submitted without oral argument
      
    
    